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April 7, 2025                                                                            Sonal N. Mehta
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The Honorable James Donato
United States District Judge for the Northern District of California
450 Golden Gate Avenue, Courtroom 11, 19th Floor
San Francisco, CA 94102

Re:    Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD

Dear Judge Donato:

       Meta Platforms, Inc. respectfully seeks the Court’s guidance with respect to the upcoming
May 29, 2025 pretrial filings, June 12, 2025 pretrial conference, and the June 30, 2025 trial date.
Dkt. 798. Advertiser Plaintiffs take no position on the request in this letter.

        Last week, the Court administratively terminated Advertisers’ renewed motion for class
certification pending disposition of Meta’s motion to exclude the opinions of Advertisers’ putative
expert, and scheduled a concurrent expert proceeding regarding the same for June 5, 2025. Dkts.
917, 919. Should the Court grant the class certification motion, there would need to be a notice
and opt out period for the proposed class, which is estimated to include more than 20 million Meta
advertisers. In light of this posture, and understanding the Court’s heavy docket, Meta seeks the
Court’s guidance as to whether it intends to proceed with the pretrial and trial dates on the current
calendar or whether the parties may be relieved from those deadlines pending further rulings from
the Court on class certification.



                                              Respectfully submitted,

                                              By: /s/ Sonal N. Mehta
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                                              HALE AND DORR LLP
                                              Attorney for Defendant Meta Platforms, Inc.
